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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,

                    Plaintiff,                     Case No. 22-CR-00115-CVE


v.

JOHNNY WESLEY BOYD SPARKS,
a/k/a “J5,”

                     Defendants.



                       Unopposed Motion for Protective Order

     The government hereby requests that the Court enter an order applying the

previously issued protective order for the discovery materials (Dkt. # 77) to

defendant Johnny Wesley Boyd Sparks.

     The United States advises the Court that the undersigned Assistant United States

Attorney consulted with counsel for Sparks, regarding his position in reference to this

motion and he has no objection.

     WHEREFORE, the United States respectfully requests that the Court enter an

order applying the previously issued protective order for the discovery materials

(Dkt. # 77) to defendant Johnny Wesley Boyd Sparks.
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                                       Respectfully Submitted,

                                       CLINTON J. JOHNSON
                                       UNITED STATES ATTORNEY



                                       /s/ David A. Nasar________________
                                       David A. Nasar, NY Reg. No. 4222568
                                       Assistant United States Attorney
                                       110 West 7th Street, Suite 300
                                       Tulsa, Oklahoma 74119
                                       (918) 382-2700



                                Certificate of Service

   I hereby certify that on the 28th day of September 2022, I electronically submitted
the foregoing document to the Clerk of Court using the ECF System for filing and
emailed a copy to the following ECF registrant:

Jeffrey Williams
Defendant Johnny Wesley Boyd Sparks’ Attorney


                                       /s/ David A. Nasar____________
                                       David A. Nasar
                                       Assistant United States Attorn
